                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,
                                            )
                                            )
                      Plaintiff,            )
                                            )
       vs.                                  )
                                            )       Case No. 18-00293-01/25-CR-W-DGK
                                            )
TREVOR SPARKS,                              )
                                            )
                      Defendant,            )




                     MOTION FOR LEAVE TO FILE UNDER SEAL

       COMES NOW the Defendant, Trevor Sparks, by and through undersigned counsel, and
hereby moves this Court for its Order to allow him to file a Motion for Court Review under seal.

       WHEREFORE, the undersigned respectfully requests this Honorable Court to grant his

request for its Order allowing defendant leave to file a Motion for Court Review under seal and

for such other orders as the Court may deem just and proper in the premises.

                                                   Respectfully Submitted,


                                                     /s/ F.A. White Jr.
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                                                    ATTORNEY FOR DEFENDANT




        Case 4:18-cr-00293-DGK Document 612 Filed 08/11/22 Page 1 of 2
                                CERTIFICATE OF SERVICE

 I hereby certify that on August 11, 2022 the forgoing was filed in the Court’s electronic filing
system and a copy electronically served on the Assistant United States Attorney, and counsel for
the government.

                                                    /s/ F.A. White Jr.
                                                    F. A. White, Jr.




         Case 4:18-cr-00293-DGK Document 612 Filed 08/11/22 Page 2 of 2
